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and KINGSLEY MANAGEMENT CORPORATION

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

SANTA ANA DIVISION

JOSE L. ACEVES, et al. CASE NO:

Plaintiffs,

NOTICE OF REMOVAL
Vs.
COACH ROYAL-003-LP. a Utah [Removed from the Orange County
Fimited Partnershi ; KINGSLEY Superior Court of the State of
MAN A . .
: , California, Case No. 30-2021-01225414-

Corporation; and DOES 1 to 50, ?
Tnelusive. CU-PO-CJC]

Defendants.

 

 

TO THE CLERK OF THE CENTRAL DISTRICT COURT OF THE STATE

OF CALIFORNIA:

PLEASE TAKE NOTICE THAT, pursuant to 28 U.S.C. §§ 1332, 1441, and
1446, Defendants, COACH ROYAL-003-LP and KINGSLEY MANAGEMENT

CORPORATION, hereby remove this civil action from the Superior Court of

NOTICE OF REMOVAL 1

 

 
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California, Orange County, where it is currently pending as Case No. 30-2021-
01225414-CU-PO-CIC, to the United States District Court for the Central District of

California. As grounds for removal, Defendants states as follows:

STATEMENT OF THE CASE

1. Plaintiffs commenced this action on October 8, 2021, by filing a Complaint

in the Superior Court of California for the County of Orange. Plaintiffs
served a copy of the summons and Complaint on Defendants on October

19, 2021.

. Plaintiffs are current and former residents of mobile homes located in

Coach Royal Mobile Home Park, located at 215 S. Sullivan Street, Santa
Ana, California (“the Park”.) The Complaint alleges that Defendants failed

to adequately maintain the Park. Complaint §12a — aa.

. The Plaintiffs assert claims for: (1) Nuisance; (2) Breach of Contract; (3)

Breach of the Covenant of Good Faith & Fair Dealing; (4) Negligence; (5)
Breach of Statutes; (6) Breach of Warranty of Habitability; (7) Breach of
Covenant of Quiet Enjoyment; (8) Breach of Unfair Competition Law; and
(9) Declaratory and Injunctive Relief. The Plaintiffs seek to recover special
and general damages and prejudgment interest. The Plaintiffs also seek
medical expenses, punitive damages, Attorneys’ Fees costs and expenses,
statutory penalties. The Plaintiffs seek a permanent injunction requiring

Defendants to repair the Park and comply with codes, statutes and

NOTICE OF REMOVAL 2

 
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ordinances. The Plaintiffs also seek an injunction prohibiting Defendants
from engaging in alleged conduct which allegedly violates Unfair
Competition Law. The Plaintiffs seek an order requiring restitution of
Plaintiffs’ alleged overpayments and alleged illegal charges. The Plaintiffs
seek a declaration of rights and obligations pursuant to leases and rental
agreements and alleged rent levels.

THIS COURT HAS ORIGINAL JURISDICTION ~ DIVERSITY

JURISDICTION UNDER 28 U.S.C. §1332(a)

4. This Court has subject matter jurisdiction under 28 U.S.C. § 1332, which
confers original jurisdiction over “all civil actions where the matter in
controversy exceeds the sum or value of $75,000, exclusive of interest and
costs, and is between .. .citizens of different States.”

A. A sufficient amount is in controversy.

l. The amount in controversy exceeds $75,000, exclusive of interest and costs.!
Section 1332(a)'s amount in controversy requirement excludes only “interest and
costs,” and thus attorneys' fees are properly included in the calculation.
Guglielmino v. McKee Foods Corp., 506 F.3d 696, 700 (9th Cir.2007). In this
lawsuit, there are one-hundred ten (110) Plaintiffs that seek to recover

compensatory damages, including but not limited to economic and non-economic

 

‘ Defendants do not concede that Plaintiffs are in fact entitled to recover any damages. See Kelderman v.
Remington Arms, 734 F. Supp. 1527, 1528 (S.D. lowa 1990) (rejecting plaintiff's attempt to “place a defendant
in the awkward position of embracing a concession on the important issue of damages” to establish jurisdiction).

NOTICE OF REMOVAL 3

 

 

 
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damages, medical expenses, attorneys’ fees, punitive damages, statutory penalties
and emotional distress damages. The Complaint does not demand a specific
amount but states that it “is within the jurisdiction of this court.” Complaint 73.
“Since the plaintiff is the master of her complaint, she can avoid having her case
heard in federal court by demanding less than $75,000 or choosing defendants
with diversity in mind.” Tangletown, LLC v. Underwriters at Lloyd's, London, No.
C06-846C, 2006 WL 2781329, *2 (W.D.Wash. Sept.25, 2006.)

2. When a complaint does not demand a specific amount, the court must
determine whether it is “facially apparent from the complaint that the
jurisdictional amount is in controversy.”

Singer v. State Farm Mut. Auto. Ins., 116 F.3d 373, 377 (9th Cir. 1997). When
measuring the amount in controversy, a court must assume that the allegations of
the complaint are true and that a jury will return a verdict for the plaintiff on all
claims in the complaint. Kenneth Rothschild Trust v. Morgan Stanley Dean
Witter, 199 F.Supp.2d 993, 1001 (C.D.Cal.2002).

3. First, aggregation of claims is appropriate as to the 110 Plaintiffs, as a matter

of law, because they have common undivided claims in the common areas for which

they allege damages. Gibson v. Chrysler Corp., 261 F.3d 927, 944 (9th Cir.2001).

The Ninth Circuit has held that “[i]f the claims are derived from rights that

[Plaintiffs] hold in group status, then the claims are common and undivided,” but

otherwise their claims “are separate and distinct.” Eagle v. Am. Tel. and Tel. Co., 769

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F.2d 541, 546 (9th Cir.1985.) The Plaintiffs expressly allege that Defendants failed to
provide and maintain the Park’s common areas, facilities, services and physical
improvements in good working order. Complaint 12.

Specifically, the Complaint cites the following common and undivided

claims as to the Plaintiffs:

e “The Park’s sewage system is inadequate and has not been
properly maintained or repaired.” [Complaint at J12a.]

e “The Park’s water system provides contaminated, odorous,
discolored, bad tasting water . . .At times, there are water leaks in
the common area.” [Complaint at 412b.]

e “The Park’s electrical system provides inadequate power. .
-Residents regularly experience power outages.” [Complaint at
qi2c.]

e “Streets have potholes, cracks and depressions.” [Complaint at
qi2e.]

e “The pool and jacuzzies are poorly maintained and are regularly
closed for residents’ use. Pool tiles are falling off, the walls are
cracking .. . [Complaint at 912f.]

e “There is insufficient lighting in the park.” [Complaint at ]12¢.]

e “The Park previously had 6 showers and 6 bathrooms, but these
facilities were closed and removed. They have not been
replaced.” [Complaint at ]12j.]

e “There is an inadequate number of trash bins.” [Complaint at
q12k.]

e “The Park fences are in disrepair, crumbling, or falling down.”

[Complaint at 12o0.]

NOTICE OF REMOVAL 5

 

 

 
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e Playgrounds and basketball courts are poorly maintained.
[Complaint at 12s.]

e “The Park has poor drainage causing land movement and
subsidence resulting in unleveling, sinking and damage to some
homes and spaces.” [Complaint at ]17ds.]

e “The Park’s gas lines are not maintained properly resulting in gas
leaks.” [Complaint at 84e.]

4, Furthermore, multiple claims brought by a single defendant, as here, can be
aggregated so that all claims reach the $75,000 threshold. Snyder v. Harris, 394 U.S.
332, 335-36, 89 S.Ct. 1053, 1056-57, 22 L.Ed.2d 319 (1969); Zahn v. Int'l Paper
Co., 414 U.S. 291, 294-95, 94 S.Ct. 505, 508-9, 38 L.Ed.2d 511 (1973).

5. In addition, Plaintiffs seek punitive damages, which must be included in the
amount in controversy. Gibson v. Chrysler, 261 F.3d 927, 945 (9th Cir. 2001); Romo
v. FFG Ins., 397 F. Supp.2d 1237, 1240 (C.D. Cal. 2005).

B. The parties are diverse.

6. Complete diversity of citizenship exists between Plaintiff and properly named
Defendants.
7. At the time this lawsuit was filed and at all times since, Defendant COACH

ROYAL-003-LP has been a Utah limited liability corporation with its principal place
of business in Provo, Utah.

8. At the time this lawsuit was filed and at all times since, Defendant
KINGSLEY MANAGEMENT CORP has been a Utah corporation with its principal

place of business in Provo, Utah.

NOTICE OF REMOVAL 6

 

 
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9, Plaintiffs are citizens of California. No Plaintiff is a citizen of Utah.

C. All other requirements for removal are satisfied.

10. _— All properly joined and served defendants join in this removal. 28 U.S.C.
§1446(b)(2)(A).

11. This Notice of Removal is timely filed. Each defendant has “30 days . .
-after receipt . . of the initial pleading .. to file a notice of removal.” 28 U.S.C.
§1446(b)(2)(B). Defendants were served with the Complaint on October 19, 2021.
This Notice of Removal is filed within 30 days of that date.

12. This Court is a proper venue for this action, pursuant to 28 U.S.C. §1441/(a).
The United States District Court for the Central District of California embraces the
County of Orange, where the state court action is now pending. 28 U.S.C. §84(a).
13. No previous application has been made for the relief requested herein.

14. Pursuant to 28 U.S.C. §1446(a), a copy of all process, pleadings, and orders
served upon Defendants, including the summons and Complaint, is attached hereto as
Exhibit A.

15. Pursuant to 28 U.S.C. §1446(d), a Notice of Filing Notice of Removal and
the Notice of Removal will be served upon counsel for Plaintiffs and will be filed
with the clerk of the Superior Court for the County of Orange.

16. Ifany question arises with regard to the removal of this action, Defendants

respectfully request the opportunity to be heard.

NOTICE OF REMOVAL 7

 

 
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CONCLUSION
WHEREFORE, Defendants respectfully request removal of this action from
the Superior Court of the County of Orange, in the State of California, bearing Case
No. 30-2021-01225414-CU-PO-CIC, to this Court. By this Removal, Defendants do
not waive any objections they may have or any other defenses to this action.
Defendants intends no admission of fact, law, or liability by this Notice, and

expressly reserves all defenses, motions and/or pleas.

Dated: November 17, 2021 WASSON & ASSOCIATES, INC.

Wasson, Esq.
Attorneys for Defendants
COACH ROYAL-003-LP
and KINGSLEY MANAGEMENT
CORPORATION

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NOTICE OF REMOVAL 8

 

 

 
